Case 2:22-cv-02890-TJS Document 1 Filed 07/22/22 Page 1 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL TERRY,
Plaintiff;
VS.
CITY OF PHILADELPHIA,
Defendant.

CIVIL DIVISION

Docket No.:

COMPLAINT IN CIVIL ACTION

Filed on behalf of Plaintiff:
MICHAEL TERRY

Counsel of Record for this Party:
Steven Auerbach, Esquire, LL.M.
Law Office of Steven T. Auerbach
822 Montgomery Ave.

Suite 210

Narberth, PA. 19072

Ph: (215) 964-4410

Fax: (610) 667-7305

Auerbach. Steven@gmail.com

Pa. I.D. #317309

JURY TRIAL DEMANDED
Case 2:22-cv-02890-TJS Document 1 Filed 07/22/22 Page 2 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL TERRY, ) CIVIL DIVISION
Plaintiff; )
) Docket No.:
VS. )
)
CITY OF PHILADELPHIA, )
Defendant. _)

I. COMPLAINT IN CIVIL ACTION

Plaintiff Michael Terry (“Mr. Terry” or “Plaintiff’), by and through his undersigned
counsel, Law Office of Steven T. Auerbach, hereby files this Complaint against the City of
Philadelphia (“Defendant’”’)(together, the “Parties), and in support thereof, avers as follows:

Il. INTRODUCTION

l. This action is brought to remedy claims of employment discrimination and retaliation
under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000 et seq (“Title VI’); the
Pennsylvania Human Relations Act, 43 PA. Cons. Stat. § 951 et seg (“PHRA”); and under the
Philadelphia Fair Practices Ordinance, 9 Phila. Code § 1101 et seg (“PFPO”).
2. More specifically, Plaintiff seeks redress for a continuing hostile and retaliatory hostile
environment, together and along with claims of disparate treatment and retaliation which
consisted of frequently-repeated anti-black slurs, degrading anatomical remarks, acts of physical
intimidation, and disparate enforcement of Defendant policies and allocation of overtime earning
opportunities.
3. Consequently, Plaintiff seeks injunctive and declaratory relief; economic, compensatory,

and punitive damages; attorneys’ fees, and all other appropriate relief pursuant to governing law.
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Il. JURISDICTION AND VENUE

4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 1343(a)(4)
because it arises under the laws of the United States and seeks redress for violations of Title VII,
a federal law. There lies supplemental jurisdiction over Plaintiff's PHRA and PFPO claims
because they arise out of the same common nucleus of operative facts as Plaintiffs federal
claims asserted herein.

2c This Court may properly maintain personal jurisdiction over Defendant because its
contact with this Commonwealth and this judicial district are sufficient for the exercise of
jurisdiction, complying with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,
326 U.S, 310 (1945), and its progeny.

6. Pursuant to 28 U.S.C. §§ 1391(b)(1) and (b)(2), venue is properly laid in this district
because all of the acts and/or omissions giving rise to the claims set forth herein occurred in this
judicial district, and defendants are deemed to reside where they are subject to personal

jurisdiction, rendering Defendant a “resident” of the Eastern District of Pennsylvania.

IV. PARTIES
7. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.
8. Plaintiff is an African American adult citizen of the United States and is a resident of
Philadelphia, Pennsylvania.
9. At all times relevant to this action, Plaintiff was and remains an “employee” of Defendant

within the meaning of Title VII, the PHRA, and the PFPO.

10. Defendant is a city and municipality organized under the laws of Pennsylvania and

maintains a principal place of business in Philadelphia, Pennsylvania.
Case 2:22-cv-02890-TJS Document1 Filed 07/22/22 Page 4 of 14

11. Defendant is engaged in industries affecting interstate commerce and regularly conducts
business in the Commonwealth of Pennsylvania.
12. Defendant has and continues to employ over five hundred (500) employees per calendar
year for at least the last five (5) years, and engages in a variety of revenue-generating business
activities.
13. At all times relevant to this action, Defendant operated and operates the Philadelphia
Sheriff’s Department (the “Sheriff’s Department”) which is a department responsible for the
safety of Philadelphia Courtrooms. Plaintiff is currently employed in the Sheriff’s Department as
a Deputy Sheriff’s Officer (“DSO”) in the Transportation Unit.
14. At all times relevant to this action, Defendant was the “employer” of the Plaintiff within
the meaning of Title VII, the PHRA, and the PFPO.
15. At all times relevant herein, Defendant acted by and through its agents, servants and
employees, each of whom acted at all times relevant herein in the course and scope of their
employment with and for Defendant.

V. EXHAUSTION OF ADMINISTRATIVE REMEDIES
16. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.
17. Plaintiff has fully complied with all administrative prerequisites for the commencement
of this action.
18. From May 9, 2017 through the present, Plaintiff filed a series of oral and written
complaints with Defendant Captains, Internal Affairs (“IAD”), and the Mayor’s Office of Labor
Relations (“ERU’’) regarding the mistreatment that he and others endured by supervisor, Mr.

Robert Castelli “Mr. Castell’).
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19. Because Defendant failed to abate Mr. Castelli’s abuse, Plaintiff filed a timely charge of
continuing employment discrimination and retaliation with the the Pennsylvania Human
Relations Commission (“PHRC”) on January 21, 2019 and directed same to cross-file with the
United States Equal Employment Opportunity Commission (“EEOC”).

20. By operation of Plaintiff’s administrative filing, and with respect to his Title VII and
PFPO claims, this Court is authorized to review all discrete discriminatory and retaliatory acts
that occurred on or after March 27, 2018. With respect to his PHRA claims, this Court is
authorized to review all discrete discriminatory and retaliatory acts that occurred on or after July
25, 2018. All “continuing-violations,” however, may be reviewed, regardless of timing, provided
that there is a showing of adverse action of the same type that have occurred both before and
after the above dates. Nat’] R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 115-16 (2002).

21. Plaintiff received his “Right to Sue” notice from the EEOC after May 5, 2022.

22. Plaintiff commenced the initial, unamended action within ninety (90) days of receipt of

this notice.

VI. FACTUAL ALLEGATIONS

23. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

24. In October of 2005 and extending through the present (the “Term of Employment’),

Plaintiff worked for Defendant in a variety of capacities.

25. Throughout the Term of Employment, Plaintiff consistently demonstrated excellent

performance and dedication to the Defendant. Plaintiff performed his job duties and

responsibilities in a highly competent manner and has routinely received positive feedback.
ADVERSE EMPLOYMENT ACTIONS

26. Throughout the Term of Employment, Plaintiff reported to Mr. Castelli (White).
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27. Defendant has failed to sufficiently train or supervise Mr. Castell1.
28. Consequently, Defendant permitted or failed to prevent Mr. Castelli’s sexualized
posturing of Plaintiff’s co-workers. For example:
a. On June 6, 2017, Mr. Castelli said of Plaintiff’s co-worker, Mr. David Rosenblit, that his
“nose was bigger than his cock;”
b. On October 8, 2018, Mr. Castelli called Plaintiff a “Pussy, Pussy, Pussy;” and
c. On January 23, 2019, Mr. Castelli pointed to a used tampon on the floor and asked Mr.
Rosenblit if it was his.
29. Defendant permitted or failed to prevent Mr. Castelli’s sexually/asexually-charged,
anti-Black posturing of Plaintiff. For example:
a. On December 12, 2018, Mr. Castelli glared at Plaintiff and called him a “Black Pussy;”
b. On May 1, 2017, Mr. Castelli ridiculed Plaintiff by saying that he “Must have not given
[a female Philadelphia Court of Common Pleas Judge] his Black cock;”
c. On January 1, 2017, Mr. Castelli disparaged Plaintiff by volunteering that a co-worker,
Belinda Cruz, would “Never fuck a Black man like him;”
d. In 2009, said that he was on the “ ‘Black List!’ with 3 others (African Americans);
30. Defendant permitted or failed to prevent Mr. Castelli’s racial intimidation and threatening

of Plaintiff. For example:

a. On February 17, 2015, Mr. Castelli told Plaintiff that he enjoyed “beating the shit out of a

black man;”

b. On November 8, 2018, Mr. Castelli followed Plaintiff into a secluded bathroom and said,

“You’re not tough, Pussy;”

c. On November 8, 2018, Mr. Castelli referred to Plaintiff as a “Pussy, Pussy, Pussy;”

 

' A group of perceived undesirable Black men.
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d. On January 31, 2019, Mr. Castelli positioned himself outside of camera view and stared
Plaintiff down; and

e. In 2014, on October 27, 2017, and again on August 23, 2019, Mr. Castelli stalked
Plaintiff at his home in the middle of the night.

31. | Defendant permitted or failed to prevent its own and Mr. Castelli’s disparate enforcement
of its policies against Plaintiff. For example:

a. On June 22, 2017, Mr. Castelli disciplined Plaintiff for his permitting prisoners to wear
designer belts in court, a rule not enforced against White DSOs; and

b. On January 18, 2018, Mr. Castelli ignored Plaintiff’s request for sick assistance.

32. Defendant disparately treated Plaintiff because of his race and/or because of his
below-described protected activity. For example:

a. On March 21, 2021, Defendant ceased offering Plaintiff overtime and doubletime-earning
opportunities. On information and belief, Plaintiff is the only DSO in Plaintiff’s unit not
to earn overtime and/or doubletime; and

b. On May 10, 2021, Defendant transferred Plaintiff from the Criminal Justice Court to
Traffic Division Courthouse, a division with less prestige and fewer promotional
opportunities.

33. The repeated anti-black slurs, degrading anatomical remarks, acts of physical
intimidation against Plaintiff is severe harassment.

34. Plaintiff’s race was a substantial motivating factor in this harassment.

35. Plaintiff believes, and therefore avers, that were he not an African American, he would

not have been treated in this manner.
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36. This harassment detrimentally affected Plaintiff’s mental health through feelings of
depression and anxiety.
37. This harassment would detrimentally affect a reasonable person in like circumstances.
PROTECTED ACTIVITY
38. On multiple occasions, from May 9, 2017 through the present, Plaintiff filed oral and
written complaints of Mr. Castelli.
39. These complaints related to anti-Black harassment that Plaintiff endured or other forms of
prohibited discrimination that Plaintiff observed and opposed. For example:
a. On May 9, 2017, Plaintiff complained to IAD that he believed he was the victim of
discrimination and retaliation by Mr. Castelli; and
b. In the Summer of 2017, Plaintiff complained to Captain Evans that Mr. Castelli had said
of Mr. Rosenblit (a Jewish man), that “his nose was bigger than his cock” and on multiple
occasions disparaged his ethnic food.
40. Plaintiff also opposed Mr. Castelli’s unlawful actions by participating in Defendant
investigations. For example:
a. On August 22, 2019, Plaintiff was interviewed by the ERU.
Al. As indicated above, Plaintiff engaged in activity protected under Title VII, the PHRA,
and the PFPO.
42. Shortly after engaging in protected activity, Defendant retaliated against Plaintiff. For
example:
a. On August 22, 2019, Plaintiff was interviewed by the ERU;

b. On August 23, 2019, Mr. Castelli stalked Plaintiff at his home.
Case 2:22-cv-02890-TJS Document 1 Filed 07/22/22 Page 9 of 14

43.  Defendant’s repeated anti-black slurs, degrading anatomical remarks, acts of physical
intimidation against Plaintif were sufficiently adverse as to potentially dissuade a reasonable
worker from making or supporting a charge of discrimination.

44.  Defendant’s actions are causally-connected to Plaintiff’s protected activity by sequence,
by unusually suggestive temporal proximity, and by the non-isolated pattern of antagonism.

45. The above-referenced actions are severe and/or pervasive retaliation which changed the
terms and conditions of Plaintiff’s employment.

46. Plaintiff believes, and therefore avers, that had he not participated in protected activity, he
would not have been treated in this manner.

47. The above-referenced actions detrimentally affected Plaintiff through mental anguish and
a loss of wage.

48. | A reasonable person in like circumstances would be similarly affected.

COUNT I: TERRY V. CITY OF PHILADELPHIA
-Title VII-

Discriminaiton. Retaliation. Hostile Environment, & Retaliatory Hostile Environment

 

49. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.
50. By committing the foregoing acts of discrimination and retaliation against Plaintiff,
Defendant has violated Title VII.

51. Defendant’s actions, as set forth above, has created a hostile work environment for
Plaintiff, which Defendant County unreasonably failed to prevent, remedy, and/or correct.

52. As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorney’s fees and costs.
Case 2:22-cv-02890-TJS Document1 Filed 07/22/22 Page 10 of 14

53. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court
grants the relief requested herein.
54. No previous application has been made for the relief requested herein.
COUNT II: TERRY V. CITY OF PHILADELPHIA
-PHRA-

Discriminaiton. Retaliation, Hostile Environment. & Retaliatory Hostile Environment
55. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.
56. By committing the foregoing acts of discrimination and retaliation against Plaintiff,
Defendant has violated the PHRA.

57. Defendant’s actions, as set forth above, has created a hostile work environment for
Plaintiff, which Defendant County unreasonably failed to prevent, remedy, and/or correct.
58. As a direct and proximate result of Defendant’s violation of the PHRA, Plaintiff has
suffered the damages and losses set forth herein and has incurred attorney’s fees and costs.
59. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court
grants the relief requested herein.
60. No previous application has been made for the relief requested herein.

COUNT III: TERRY V. CITY OF PHILADELPHIA

-PFPO-

Discriminaiton, Retaliation, Hostile Environment, & Retaliatory Hostile Environment

61. | The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

62. By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated the PFPO.
Case 2:22-cv-02890-TJS Document1 Filed 07/22/22 Page 11 of 14

63. Defendant’s actions, as set forth above, has created a hostile work environment for
Plaintiff, which Defendant County unreasonably failed to prevent, remedy, and/or correct.
64. | The Defendant’s wrongful acts were done with a_ reckless or callous disregard of, or
indifference to, the rights and safety of Plaintiff.
65. As a direct and proximate result of Defendant’s violation of the PFPO, Plaintiff has
suffered the damages and losses set forth herein and has incurred attorney’s fees and costs.
66. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court
grants the relief requested herein.
67. No previous application has been made for the relief requested herein.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that this Court:
a. Issue a declaratory judgment that the acts, policies, and practices complained herein are
in violation of Title VII, the PHRA, and the PFPO; and
b. Enjoin the Defendants from continuing its acts, policies, and practices which violate Title
VII, the PHRA, and the PFPO; and
c. Direct Defendant to reinstate/promote Plaintiff to the position he would have occupied
but for the Defendant’s unlawful conduct, making him whole for all earnings he would
have received but for the Defendant’s unlawful conduct, including but not limited to
wages, overtime, bonuses and other lost benefits; and
d. Direct the Defendant to make Plaintiff whole by providing compensation for past and
future pecuniary losses resulting from the unlawful employment practices described

above, with interest, in amounts to be determined at trial; and
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e. Direct the Defendant to make Plaintiff whole by providing compensation for past and
future non-pecuniary losses caused by the above unlawful conduct, including pain and
suffering, emotional distress, indignity, loss of enjoyment of life, loss of self-esteem, and
humiliation, in amounts to be determined at trial; and

f. Grant an award of costs of suit, expert fees and other disbursements, along with
reasonable attorneys’ fees;

g. Grant an award of punitive damages against the Defendants for their violations of the

PFPO; and

h. Grant such other relief as the Court deems necessary and proper.

DEMAND FOR TRIAL BY JURY
Pursuant to FRCP 38(b), Plaintiff demands a trial by jury on all questions of fact raised

by the complaint.

LAW OFFICE OF STEVEN T. AUERBACH

By: . Ca
Steven Auerbach, Esquire, LL.M.
822 Montgomery Ave.
Suite 210
Narberth, PA 19072
(215) 964-4410
Auerbach.Steven@gmail.com

 

Attorney for Plaintiff

Dated: July 22, 2022
Case 2:22-CV-02890 A POSTER oH ep 22/22 Page 13 of 14

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS A \ DEFENDANTS C:

JS 44 (Rev. 10/20)

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(c) Attorneys (Firm Name, AaaESS and ae Number) Attorneys (If Known)

 

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U.S. Government
Plaintiff

U.S. Government
Defendant

 

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ederal Question
(U.S. Government Not a Party)

(Indicate Citizenship of Parties in Item Hl)

 

OM. CITIZENSHIP

   
  
  
 
  
  
  

(For Diversity Cases Onih

Citizen of This State

Citizen of Another State

Citizen or Subject of a

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PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

if One Box for Defendant)

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Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY =| 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability r] 690 Other 28 USC 157 ls 3729(a))
140 Negotiable Instrument LF Liability CL] 367 Health Care/ 400 State Reapportionment
L] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act i_] 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CQ 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) | 345 Marine Product Liability || 840 Trademark Cormpt Organizations
CJ 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits | 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability LE] 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability _| 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
~_ | 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) | _ Exchange
Medical Maipractice Leave Act 864 SSID Title XVI __| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation | 865 RSI (405(g)) fel 891 Agricultural Acts
| | 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: __|791 Employee Retirement "| 893 Environmental Matters
[| 220 Foreclosure 41 Voting | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment < i | 510 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General C | 871 IRS—Third Party | 899 Administrative Procedure
[| 290 All Other Real Property “| 445 Amer. w/Disabilities - | | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
“| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
_] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

 

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VI. CAUSE OF ACTION

Cite the US. Civil Statute ynder wyny
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‘aig dime (Do not cite jurisdictional statutes unless diversity):
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Brief description = -— ‘
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VII. REQUESTED IN — [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if derga Sriat in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. sarin JURY DEMAND: [_]No
VIII. RELATED CASE(S8). cant ~\ Son .
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DATE SIGNATURE OF ATTORNEY OF RECORD
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FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
Case 2:22-cv-02890-FNFm RACHA trHedR22/22 Page 14 of 14

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

2272 Saint Vincent Street. Philadelphia, PA 19149
1515 Arch St. Philadelphia, PA 19102
Philadelphia

Address of Plaintiff:
Address of Defendant:

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No
previously terminated action in this court?

 

 

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

 

 

 

 

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3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No VY
case filed by the same individual?

 

 

   

I certify that, to my knowledge, the within case (7 is / PL is pot related to any case now pending or within one year previously terminated action in

this court except as noted above.

pate: 07/22/2022 mien e 317309

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a Vin one category only)

 

A Federal Question Cases: B. Diversity Jurisdiction Cases:

Oi Indemnity Contract, Marine Contract, and All Other Contracts C1 1. Insurance Contract and Other Contracts

[] 2. FELA L] 2. Airplane Personal Injury

[] 3. Jones Act-Personal Injury LC] 3. Assault, Defamation

CL] 4. Antitrust [J 4. Marine Personal Injury

[] 5. Patent L] 5. Motor Vehicle Personal Injury
EL Liter mame Relations [] 6. Other Personal Injury (Please specify):

7. Civil Ri ; [] 7. Products Liability

Nate Comes [] 8. Products Liability — Asbestos

H 9. Securities Act(s) Cases CL) 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[J 11. All other Federal Question Cases

(Please specify):

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Steven Auerbach

, counsel of record or pro se plaintiff, do hereby certify:

4

 

 

v Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Ve
seem here fom—$_—_— 31 7309

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

‘A’ Relief other than monetary damages is sought.

pate. 07/22/2022

 

 

 

   

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ. 609 (5/2018)
